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     In The United States Court of Federal Claims
                                         No. 12-00047C

                                     (Filed: March 2, 2012)
                                           __________

  INTERNATIONAL GENOMICS
  CONSORTIUM,

                                 Plaintiff,

                          v.

  THE UNITED STATES,

                                 Defendant.


                                              __________

                                               ORDER
                                              __________

         On February 20, 2012, plaintiff filed a motion for limited relief from the court’s
protective order. On February 23, 2012, defendant filed its response, indicating that it did not
object to plaintiff’s counsel sharing certain specific portions of the administrative record with its
client, but that it objected to the motion as to the rest of the administrative record. Plaintiff’s
motion is hereby GRANTED, in part, and DENIED, in part. Plaintiff must adhere to the
protective order but is relieved from the order for the following portions of the administrative
record to which there is no objection:

       1.       AR tabs 1-3;

       2.       AR tab 11; and

       3.       AR tabs 20-23.

       IT IS SO ORDERED.


                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
